                                             July 19, 2022
                                                                APPLICATION GRANTED.
VIA ECF & EMAIL

The Honorable Andrew E. Krause
United States Magistrate Judge
Southern District of New York
300 Quarropas Street,
White Plains, NY 10601
                                                                             Dated: July 19, 2022
       Re:     United States v. Kuljinder Hunjan, 22-mj-5853 (UA)

Dear Honorable Judge Krause:

        I write to respectfully request that the Court modify Mr. Hunjan’s conditions to permit
him to travel to the District of New Jersey.

        Mr. Hunjan appeared before The Honorable Judith McCarthy on Friday, July 15, 2022,
on an initial appearance pursuant to Federal Rule of Criminal Procedure 5(b)(3). He was released
on a $150,000 unsecured bond signed by three financially responsible people. Amongst other
conditions, his travel was restricted to the Southern and Eastern Districts of New York and the
Southern District of Texas, the District from which the underlying case originated. Following the
appearance on Friday, Mr. Hunjan’s mother informed me that he and his parents reside on the
border of New York and New Jersey. They attend temple in Glen Rock, New Jersey, which is the
only Sikh temple in the area. In addition, his sister lives in Bloomfield, New Jersey and they
frequently visit her. Finally, there are better job prospects for him in New Jersey given the
proximity to his home. Therefore, Mr. Hunjan respectfully requests that his bail conditions be
modified him to permit him to travel to the District of New Jersey.

       Mr. Hunjan’s Pre-trial Officer, Vince Adam, has no objection to this request. I have
contacted the Government, through Assistant United States Attorney Kaiya Arroyo, who also has
no objection to this request. Thank you for your time and consideration of this matter.

                                             Respectfully submitted,



                                             Elizabeth K. Quinn
                                             Assistant Federal Defender

cc:    Kaiya Arroyo, AUSA,
